                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                               No. CR04-4118-MWB
 vs.                                            ORDER ACCEPTING MAGISTRATE
                                                    JUDGE’S REPORT AND
 JOSE ORTIZ-MARTINEZ, a/k/a Jose                RECOMMENDATION REGARDING
 Antonio Arellano,                                DEFENDANT’S MOTION TO
                                                         DISMISS
                 Defendant.
                                  ____________________

         On December 9, 2004, an indictment was returned against defendant Jose Ortiz-
Martinez, charging defendant with conspiring to distribute 500 grams or more of
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846, and
possessing with intent to distribute 50 grams or more of methamphetamine, in violation of
21 U.S.C. § 841(a)(1) and 841(b)(1)(B). On April 14, 2005, defendant appeared before
United States Magistrate Judge Paul A. Zoss and entered a plea of guilty to Counts 1 and
3 of the indictment. On this same date, Judge Zoss filed a Report and Recommendation
in which he recommended that defendant’s guilty plea be accepted. No objections to Judge
Zoss’s Report and Recommendation were filed. On May 5, 2005, the court accepted
Judge Zoss’s Report and Recommendation of April 14, 2005, and accepted defendant’s
plea of guilty in this case to Counts 1 and 3 of the indictment.
         Defendant filed a motion to dismiss prior to pleading guilty (#27). Judge Zoss filed
a report and recommendation in which he recommended that defendant’s motion to dismiss
be denied. No objections to Judge Zoss’s Report and Recommendation were filed. In
light of defendant’s guilty plea, defendant’s motion to dismiss is denied as moot. In the
alternative, it appears to the court upon review of Judge Zoss’s findings and conclusions,


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that there is no ground to reject or modify them, and the court accepts Judge Zoss’s Report
and Recommendation of March 7, 2005, and denies defendant’s motion to dismiss.
       IT IS SO ORDERED.
       DATED this 8th day of July, 2005.


                                                 __________________________________
                                                 MARK W. BENNETT
                                                 CHIEF JUDGE, U. S. DISTRICT COURT
                                                 NORTHERN DISTRICT OF IOWA




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